      Case 1:24-cv-04777-AKH    Document 92   Filed 04/22/25   Page 1 of 10




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



UMG RECORDINGS, INC., CAPITOL
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT, ARTISTA MUSIC,
ARISTA RECORDS LLC, ATLANTIC
RECORDING CORPORATION, RHINO
ENTERTAINMENT COMPANY, WARNER            Case No. 1:24-cv-04777 (AKH)
MUSIC INC., WARNER MUSIC
INTERNATIONAL SERVICES LIMITED,
WARNER RECORDS LLC, and WARNER
RECORDS/SIRE VENTURES LLC,

      Plaintiffs,
vs.

UNCHARTED LABS, INC., d/b/a Udio.com,
and JOHN DOES 1-10,

       Defendant.




      PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
                          CLARIFICATION
       Case 1:24-cv-04777-AKH           Document 92        Filed 04/22/25      Page 2 of 10




        Pursuant to Federal Rule of Civil Procedure 60(a) and Rule 2.B of this Court’s Individual

Rules of Practice, Plaintiffs UMG Recordings, Inc. and Capitol Records, LLC (collectively

“UMG”); Sony Music Entertainment (“SME”), Arista Music, and Arista Records LLC (“Arista

Records,” and collectively with Arista Music and SME, “Sony”); Atlantic Recording Corporation

(“Atlantic”), Rhino Entertainment Company (“Rhino”), Warner Music Inc. (“WMI”), Warner

Music International Services Limited (“WMISL”), Warner Records Inc., Warner Records LLC,

and Warner Records/SIRE Ventures LLC (“WR/SIRE,” and collectively with Atlantic, Rhino,

WMI, WMISL, Warner Records Inc., and Warners Records LLC, “Warner,” and together with

Universal and Sony, “Plaintiffs”) respectfully move for clarification of the Court’s April 8, 2025

Order. See Dkt. 89 (the “Order”).

                                        INTRODUCTION

        In its recent Order granting Defendant Uncharted Labs, Inc.’s (“Udio”) motion to compel,

the Court ordered Plaintiffs to “produce the deposit copies” of the sound recordings at issue. Order

at 2. As is true of all copyright registrants, however, Plaintiffs do not possess the literal “deposit

copies” because those copies were submitted to the U.S. Copyright Office as a condition of

registration.   See U.S. Copyright Office, Compendium of U.S. Copyright Office Practices

(“Copyright Compendium”) § 1503.1 (3d ed. 2021). Accordingly, Plaintiffs seek clarification that

they can comply with the Court’s Order by producing bona fide copies of the works submitted to

the Copyright Office. Should the Court prefer, Plaintiffs are also amenable to meeting with the

Special Master to discuss the issues raised in the present motion.

        Plaintiffs seek clarification that they can comply with the Court’s order by producing (a)

digital copies of each asserted work that are in their possession, custody, or control, and (b)

declarations establishing that those digital copies are identical to the deposit copies submitted to



                                                -2-
       Case 1:24-cv-04777-AKH            Document 92        Filed 04/22/25      Page 3 of 10




the Copyright Office when the works were registered. Such copies are exactly what Udio sought

in its motion to compel. See Dkt. 80 at 5. Plaintiffs can also provide Udio with whatever written

authorizations it requires to obtain additional copies of Plaintiffs’ recordings directly from the U.S.

Copyright Office. Plaintiffs respectfully request that the Court clarify its Order to make clear that

the foregoing will satisfy their production obligations.

       This same issue arose in connection with a virtually identical motion to compel filed in

UMG Recordings, Inc. v. Suno, Inc., No. 24 Civ. 11611 (FDS) (D. Mass.). There, as here, the

actual deposit copies were given to the Copyright Office as part of the copyright registration

process, yet Suno (a generative AI defendant represented by the same counsel as Udio here) sought

to compel the production of those deposit copies. Last week, the United States District Court for

the District of Massachusetts rejected Suno’s request that the plaintiffs in that case search for and

produce physical archival copies of the asserted sound recordings and instead adopted the very

same approach that Plaintiffs propose here: production of digital copies of each asserted work,

along with declarations attesting that those recordings are the same as what was deposited with the

Copyright Office with their registration applications. The court further ordered the parties to

cooperate to provide Suno with whatever written authorizations it requires to obtain any additional

copies directly from the Copyright Office itself.

       Plaintiffs believe this approach will best effectuate the purposes of this Court’s Order—

namely, Plaintiffs’ production of copies of the sound recordings that are verifiably the same as

those on deposit with the Copyright Office. Plaintiffs respectfully request that the Court clarify

that their proposal will constitute compliance with its Order.




                                                 -3-
       Case 1:24-cv-04777-AKH          Document 92        Filed 04/22/25      Page 4 of 10




                                        BACKGROUND

       On March 4, 2025, Udio moved to compel Plaintiffs to produce copies of the sound

recordings that were submitted to the U.S. Copyright Office when the asserted works were

registered. See Dkt. 80 at 4-7. On March 13, 2025, the Court-appointed Special Master held a

conference to address various discovery disputes, including Udio’s motion to compel deposit

copies. Ex. A (“Trehan Decl.”) ¶ 3. The Special Master recommended that the parties continue

meeting and conferring on the issue. Id. ¶ 4. The parties were unable to reach a resolution and

requested a hearing with the Special Master to further address the issue. Id. ¶ 6.

       Before that hearing with the Special Master could be scheduled, the Court issued the Order

granting Udio’s motion to compel and ordered Plaintiffs to “produce the deposit copies.” Order

at 2; see also Trehan Decl. ¶ 6.

       The actual deposit copies of the asserted sound recordings were submitted to and deposited

with the Copyright Office, and are therefore outside Plaintiffs’ possession, custody, and control. 1

However, Plaintiffs do possess, and can produce in compliance with the Order, bona fide digital

copies of the works they submitted to the Copyright Office, which they can attest are identical to

the deposit copies submitted to the Copyright Office when the works were registered.




1 The Copyright Act mandates that applicants can obtain copyright registrations only, among other

things, “by delivering to the Copyright Office the deposit specified by this section,” which for
present purposes is “two complete copies or phonorecords of the best edition.” 17 U.S.C. § 408(a),
(b)(2); see also Dallas Buyers Club, LLC v. Huszar, 2019 WL 5856460, at *6 (D. Or. Sept. 3,
2019) (“[Plaintiff] does not have possession or custody of the depository copy of the Movie, which
was necessarily submitted to the United States Copyright Office . . . with the copyright
registration.”). The Copyright Office does not, in the ordinary course, return these deposit copies
to copyright owners. See Copyright Compendium § 1510.3 (“Certain parties may request a
certified or uncertified copy of the deposit copy(ies) or identifying material for a copyright
claim . . . .” (emphasis added)).

                                               -4-
       Case 1:24-cv-04777-AKH           Document 92        Filed 04/22/25      Page 5 of 10




                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 60(a) allows a court to “clarify” an order “to reflect the

necessary implications of the original order” or “to ensure that the court’s purpose is fully

implemented.” L.I. Head Start Child Dev. Servs., Inc. v. Econ. Opportunity Comm’n of Nassau

Cnty., Inc., 956 F. Supp. 2d 402, 410 (E.D.N.Y. 2013) (internal quotation marks omitted); see also

Greer v. Mehiel, 2017 WL 128520, at *2 (S.D.N.Y. Jan. 12, 2017) (same).

                                           ARGUMENT

       The Order requires Plaintiffs to “produce the deposit copies” of the asserted works. Order

at 2. However, as a condition of registration, those copies were given to the Copyright Office, and

are therefore no longer in Plaintiffs’ possession, custody, or control. See 17 U.S.C. § 408;

Copyright Compendium § 1503.1. Plaintiffs respectfully seek clarification that they can satisfy

the Order by producing (a) digital copies of each asserted work that are in their possession, custody,

or control, and (b) declarations establishing that those digital copies are identical to the deposit

copies submitted to the Copyright Office when the works were registered. Plaintiffs can also

provide Udio with whatever written authorizations it requires to obtain additional certified copies

of Plaintiffs’ recordings directly from the U.S. Copyright Office.

       To comply with the Order, Plaintiffs intend to source these digital copies of their recordings

for production from their centralized repositories for digital music assets. See Ex. B (“Duchardt

Suppl. Decl.”) ¶ 3; Ex. C (“O’Connell Decl.”) ¶ 3; Ex. D (“Beauchamp Suppl. Decl.”) ¶ 3. These

digital files are versions of the very same recordings that were deposited with the Copyright Office.

See Duchardt Suppl. Decl. ¶ 5 & n.1; O’Connell Decl. ¶ 5; Beauchamp Suppl. Decl. ¶ 5 & n.1. To

identify the recordings deposited with the Copyright Office, Plaintiffs will match the information

listed on the relevant copyright registration certificates to the available metadata from their



                                                -5-
       Case 1:24-cv-04777-AKH            Document 92        Filed 04/22/25       Page 6 of 10




repositories—such as artist name, title, release year, UPC, and/or catalog number. See Duchardt

Suppl. Decl. ¶ 4; O’Connell Decl. ¶ 4; Beauchamp Suppl. Decl. ¶ 4. For example, Copyright

Registration No. SR 55-647 lists the following identifying information for a recording owned by

Sony: the artist is Bruce Springsteen, the title is “Born in the U.S.A.,” the date of first publication

is May 1984, and the catalog number is QC 38653. See Ex. E (SONY_UDIO_00000050). Sony

will then enter those identifiers into its centralized repository for digital music assets to identify a

digital version of what was deposited with the Copyright Office for registration. See O’Connell

Decl. ¶¶ 3-4. Plaintiffs will apply this same process for every registered work asserted in this

action and will so attest in sworn declarations. 2

       This approach, which Plaintiffs had planned to present to the Special Master, see Trehan

Decl. ¶ 6, will give Udio exactly what it sought in its motion to compel: bona fide copies of the

sound recordings corresponding to the works reflected in the copyright registrations. See Dkt. 80

at 5. It is also a practical and administrable interpretation of the Court’s directive to “produce the

deposit copies.” Order at 2. Indeed, Udio can use the digital copies Plaintiffs will produce to

accomplish the same ends that Udio articulated in its motion to compel, that is, to “test” that these

copies of the asserted recordings “are identical to works in Udio’s training data.” Dkt. 80 at 6.

       Courts in this District dealing with similar issues have accepted precisely the kind of

evidence Plaintiffs now propose to produce in response to the Order—exact copies of the asserted

works, paired with sworn declarations affirming that they are the same as what was deposited with

the Copyright Office. See, e.g., Chicoineau v. Bonnier Corp., 2018 WL 6039387, at *2 (S.D.N.Y.



2 Plaintiffs have also asserted several pre-1972 sound recordings, which were never deposited with

the Copyright Office. Since there is no deposit copy requirement for these recordings, Plaintiffs
will identify the recording by matching the recordings with the information reflected on the index
schedules they submitted to the Copyright Office pursuant to 17 U.S.C. § 1401.

                                                 -6-
       Case 1:24-cv-04777-AKH            Document 92        Filed 04/22/25      Page 7 of 10




Oct. 16, 2018) (“Given [plaintiff’s] sworn declaration that he included the photograph in question

in the group he registered, [defendant’s] speculation is insufficient to create a triable issue of fact

as to whether [plaintiff’s] registration covers the photograph at issue.”); Masi v. Moguldom Media

Grp. LLC, 2019 WL 3287819, at *4 (S.D.N.Y. July 22, 2019) (“Given Plaintiff’s sworn

declaration . . . Defendant’s speculative statements regarding the scope of the copyright do not

create a triable issue of fact as to whether the Registration covers the photographs at issue.”). To

the extent Udio wishes to further test the authenticity of the recordings that Plaintiffs will produce,

Plaintiffs are willing to ensure that Udio has equal access to request the certified deposit copies

from the Copyright Office at its own expense. See, e.g., Goodman v. Universal Beauty Prods.

Inc., 2018 WL 1274855, at *5 (S.D.N.Y. Mar. 9, 2018) (precluding defendants from challenging

the validity or scope of plaintiff’s copyright registrations because defendants “had the opportunity

to request a certified deposit copy from the U.S. Copyright Office” but failed to submit any such

evidence).

       Udio is expected to argue that “deposit copies” as used in the Order should be construed to

mean whatever physical archival copies of the asserted works Plaintiffs may be able to locate that

are contemporaneous from when the works were first registered. That gloss on the Order is neither

practical nor would it satisfy the purposes of Udio’s motion to compel. As discussed in the

supplemental declarations that Plaintiffs intended to provide the Special Master, locating physical

archival copies of older works, many of which predate Plaintiffs’ current archival practices, would

be uniquely burdensome (if not impossible). See Ex. F (“Wilson Decl.”) ¶ 6; Ex. G (“Tierney

Decl.”) ¶ 6; Ex. H (“Kossowicz Suppl. Decl.”) ¶ 8; see also Trehan Decl. ¶ 5. Many of the works

in suit were originally created by record labels that Plaintiffs subsequently acquired, and Plaintiffs

do not routinely request or receive physical product when they acquire catalogs from other labels.



                                                 -7-
       Case 1:24-cv-04777-AKH           Document 92        Filed 04/22/25      Page 8 of 10




See Wilson Decl. ¶ 7; Tierney Decl. ¶ 7; Kossowicz Suppl. Decl. ¶ 9. Furthermore, turning over

any physical product that could be located in Plaintiffs’ archives would require unsealing records

that are stored in their original packaging, which would risk compromising unique and valuable

archival materials. See Tierney Decl. ¶ 8; Wilson Decl. ¶ 8; Kossowicz Suppl. Decl. ¶ 10.

Moreover, any physical product that Plaintiffs may be able to locate in their archival storage

facilities would be identical to the digital recordings Plaintiffs will produce. See Duchardt Suppl.

Decl. ¶¶ 5 & n.1, 6; O’Connell Decl. ¶¶ 5, 7; Beauchamp Suppl. Decl. ¶¶ 5 & n.1, 6. And, most

importantly, Plaintiffs’ archival products still would not be the actual deposit copies, Dallas Buyers

Club, LLC, 2019 WL 5856460, at *6, so Plaintiffs would still need to provide evidence linking

these archival records to the actual deposit copies. Thus, irrespective of whether Plaintiffs produce

contemporaneous physical copies of the asserted works or digital copies of these same works, Udio

would still need to rely on additional evidence supplied by Plaintiffs attesting to the authenticity

of these works.

       The United States District Court for the District of Massachusetts reached the same

conclusion last week in Suno, Inc. There, Defendant Suno, which is represented by the same

counsel as Udio here, similarly sought to compel Plaintiffs to produce deposit copies for the

asserted sound recordings. Suno, Inc., Dkt. 70. As here, Plaintiffs opposed, initially contending

that the discovery was irrelevant and not proportional to the needs of the case. Id. at 12-13.

Plaintiffs later offered to produce digital copies of the asserted works along with declarations

attesting that the recordings were identical to the actual deposit copies. See Suno, Inc., Dkt. 90;

see also id. Exs. B-D, G-I. The court ultimately rejected Suno’s demand that Plaintiffs conduct an

internal search for contemporaneous physical records and declined to shift the cost of obtaining

additional copies of the deposit copies from the Copyright Office to Plaintiffs. Trehan Decl. ¶ 9.



                                                -8-
          Case 1:24-cv-04777-AKH        Document 92        Filed 04/22/25      Page 9 of 10




Instead, the court directed the parties to work together to ensure that Suno could obtain any copies

of deposit copies it wished directly from the Copyright Office at its own expense. Suno, Inc., Dkt.

91. The same outcome is appropriate here and is the most reasonable implementation of the

Court’s Order that Plaintiffs “produce the deposit copies” of the asserted works.

                                          CONCLUSION

          Plaintiffs seek to comply with the Order and have no interest in withholding discovery.

They simply request clarification that their proposed approach—producing digital copies of the

sound recordings, supported by sworn declarations attesting to their provenance, and facilitating

Udio’s equal access to request additional copies from the Copyright Office—is a reasonable and

practical means of satisfying the Court’s directive to “produce the deposit copies.” For these

reasons, Plaintiffs respectfully request that the Court grant the instant motion and clarify the Order

accordingly, or, if the Court prefers, a referral to the Special Master to discuss the issues raised

herein.




                                                -9-
     Case 1:24-cv-04777-AKH   Document 92    Filed 04/22/25    Page 10 of 10




Dated: April 22, 2025
       New York, New York
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                                   - 10 -
